
Geben. J.
The county court did not err in striking out the plea in abatement. A plea in abatement cannot be pleaded at the same time with a plea in.bar. 1 Bac. Ab. 26: 1 Mass. Rep. 358. The plea in bar is inconsistent with the plea in abatement, and by answering the plaintiff’s actibn overrules the plea in abatement. That plea was therefore properly stricken out by the county court, and the circuit court erred in reversing that judgment.
The judgment of the circuit court will be reversed, and, proceeding to rendér such judgment as that court ought to have givén, the county court judgment will be affirmed:
Catr6ñ, Ch. J. concurred.
Peck, J.
The plea in form is bad; it comiiiences iri bar and concludes in abatement, which makes it a plea in bar. 1 Bac. Ab. Tit. Abatement P. But contain-*106mg no matter m bar, it is for that cause frivolous, and , , , . . was properly stricken out by the county court.
Judgment reversed.
